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IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
DIVISION OF ST, CROIX

JOSEPHAT HENRY resident of Harvey, KAY
WILLIAMS resident of Harvey, SYLVIA
BROWNE resident of Clifton Hill, MAUDE DREW
resident of Estate Barren Spot, MARTHA ACOSTA
resident of Estate Profit, WILHELMINA GLASGOW
as an individual and mother and next friend of
SAMANTHA VIERA, a minor, both residents of
Estate Profit, MERCEDES ROSA resident of Estate
Profit, GEORGE RODRIGUEZ as an individual and as )
father and next friend of AMANDO and GEORGE E, )
RODRIGUEZ, Minors, all residents of Estate Profit, )
SONYA CIRILO resident of Estate Profit,
RAQUEL TAVAREZ, resident of Estate Profit,
NEFTALI CAMACHO, as an individual and as
father and next friend of ANGEL JAVIER
CAMACHO, a minor, both residents of Estate Profit,
EYAJIE MALAYKHAN resident of Estate Profit,
CHEDDIE KELSHALL resident of Estate Profit
- and other persons too numerous to mention, A
CLASS ACTION,

CIVIL NO. 1999/0036

Name” Smet Name! See Samar! Sema” See” Spee”

Plaintiffs,
v.

ST, CROIX ALUMINA, LLC, ALCOA INC., and
GLENCORE LTD, ffk/a CLARENDON LTD.,

Defendants,

Nene” eee See” “nue” Neue Nace Stel” “Nnaggeet” Sagat” “geet” Magee” Sct” neat” ce” Neer” Net” Nimsawee” Some”

 

GLENCORE LTD.’S STATEMENT OF UNDISPUTED FACTS
IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
ON PLAINTIFFS’ CLASS CLAIM FOR INJUNCTIVE RELIEF
In support of its motion for summary judgment on Plaintiffs’ class claim for injunctive
relief, defendant Glencore Ltd. (“Glencore”) incorporates by reference the undisputed facts in the

Statement of Undisputed Facts in Support of Motion for Summary Judgment on Plaintiffs’ Class

Claim for Injunctive Relief filed herewith by defendants Alcoa Inc. (“Alcoa”) and St. Croix
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Alumina, LLC (“SCA”), and supporting evidence referenced therein, Glencore also identifies
the following additional undisputed facts:

1. Glencore has never owned or operated the alumina refinery on St. Croix, as this
Court has already held. See Order and Memorandum Opinion dated August 10, 2007 (Doc.
1125) at 11; see also evidence in support of Alcoa’s and SCA’s undisputed facts nos, 1-3 & 9 (re
the consecutive owners of the refinery, beginning with Harvey Aluminum, Inc., Martin Marietta,
Virgin Islands Alumina Company (“Vialco”), SCA, and then St. Croix Renaissance Group,
L.L.L.P).

2, Glencore is not the alter ego or agent of, and cannot be derivatively liable for the
alleged wrongdoing of, its former thrice-removed indirect subsidiary, the Virgin Islands Alumina
Company (“Vialco”), as this Court has already adjudicated. See Order and Memorandum
Opinion dated August 10, 2007 (Doc. 1125) at 19.

Dated: May 15, 2009 Respectfully submitted,

MACKAY & HobpGE, LLC

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CERTIFICATE OF SERVICE

I hereby certify that on this 15th day of May, 2009, I electronically filed

GLENCORE LTD.’S STATEMENT OF UNDISPUTED FACTS
IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
ON PLAINTIFFS’ CLASS CLAIM FOR INJUNCTIVE RELIEF

with the Clerk of the court using the CM/ECF system, which will send a notification of such

filing (NEF) to the following:

 

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s/Vivian Urquidi
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